                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE

   UNITED STATES OF AMERICA                            )
                                                       )
   v.                                                  )     No. 2:19-CR-00196-11-JRG-CRW
                                                       )
   CONNIE PAIGE TERRY                                  )

                                              ORDER

         This matter is before the Court on United States Magistrate Judge Cynthia R. Wyrick’s

  Report and Recommendation [Doc. 922], in which Judge Wyrick recommends the Court accept

  Defendant’s guilty plea to the charge in Count One of the Indictment [Doc. 4], adjudge her guilty

  of that charge, and order that she remain in custody pending her sentencing hearing. Neither party

  has timely objected to the report and recommendation. See 28 U.S.C. § 636(b)(1); Fed. R. Crim.

  P. 59(b).

         Having reviewed the record, the Court agrees with Judge Wyrick’s recommendation.

  The Court therefore ACCEPTS IN WHOLE the report and recommendation under 28 U.S.C.

  § 636(b)(1) and Federal Rule of Criminal Procedure 59(b). For the reasons in the report and

  recommendation, which the Court adopts and incorporates into this Order, the Court ACCEPTS

  Defendant’s guilty plea, and Defendant is hereby ADJUDGED guilty of the charge in Count

  One of the indictment. The Court will defer a decision as to whether to accept or reject the

  Plea Agreement [Doc. 676] until after it has received a presentence investigation report from the

  United States Probation Office. Defendant SHALL remain in custody pending her sentencing

  hearing.

         So ordered.




Case 2:19-cr-00196-JRG-CRW Document 951 Filed 05/12/21 Page 1 of 2 PageID #: 6820
        ENTER:


                                            s/J. RONNIE GREER
                                       UNITED STATES DISTRICT JUDGE




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Case 2:19-cr-00196-JRG-CRW Document 951 Filed 05/12/21 Page 2 of 2 PageID #: 6821
